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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

H-D U.S.A., LLC,
                                                   Case No. 19-cv-01789
               Plaintiff,
                                                   Judge Charles R. Norgle
v.
                                                   Magistrate Judge Maria Valdez
3AAA STORE, et al.,
               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff H-D U.S.A.,

LLC (“Harley-Davidson” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendants:

                Defendant Name                                   Line No.
           Car Light Fun Light Store                                 6
       DRFLYSD JINYU AUTOPARTS Store                                 7
                 Jeebel L Store                                     12
             Vehicle Solution Store                                 28
          Off road Lights Factory Store                             48
                     3a-part                                        64
             aftermarketmotorparts                                  66
              lmmotorcycle-market                                   83
                 luanmingmoto                                       84
                seasonstore2016                                     93
                  willhappy99                                       99
                     Bakuis                                        106
                    FunLight                                       122
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Dated this 25th day of April 2019.   Respectfully submitted,


                                     /s/ RiKaleigh C. Johnson
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                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
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